                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION

UNITED STATES OF AMERICA           )                    DOCKET NO. 5:lO-CR-2-V
     vs.                           )
TAMATHA M. HILTON (1)              )
JIMMY EARL HILTON (2 )             )                    ORDER TO UNSEAL BILL OF
JACQUELINE H. HILTON (3)           )                    INDICTMENT


       Upon motion of the United States Attorney, it is hereby ORDERED, ADJUDGED AND

DECREED that the above referenced Sealed Bill of Indictment and Warrant for Arrest be unsealed.

       SO ORDERED.                           Signed: January 14, 2010




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